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                          UNITED STATES DISTRICT COURT 
                           FOR THE DISTRICT OF COLUMBIA 
 
 
ANDRE RICHARDSON,                                   
aka ANDREA RICHARDSON,                              
                                                    
          Plaintiff,                                
                                                           Civil Action No. 16‐209 (CRC) 
     v. 
 
DISTRICT OF COLUMBIA, et al., 
 
          Defendants. 
 
 
        DEFENDANTS’ MOTION TO AMEND THE SCHEDULING ORDER 
                                                
       Pursuant to Fed. R. Civ. P. 6(b)(1) and 7(b), the District of Columbia Defendants 

(“Defendants”)  move  the  Court  to  amend  the  scheduling  order.    Defendants’  expert 

disclosures  are due on or  before January 5, 2017 and  discovery closes on February  10, 

2017, the next court date is February 13, 2017 at 10:00 a.m. 

         The  grounds  for  this  motion  are  more  fully  set  forth  in  the  accompanying 

memorandum  of points  and authorities incorporated  herein  by  reference.  Defendants 

have also attached a proposed order for the Court’s consideration. 

                                  LCvR 7(m) Certification 

       Undersigned  counsel  states  that  Plaintiff’s  consent  was  sought  but  a  response 

was not yet received at the time of this filing. 



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                                   Respectfully submitted, 
 
                                   KARL A. RACINE 
                                   Attorney General for the District of Columbia 
                                    
                                   GEORGE C. VALENTINE 
                                   Deputy Attorney General, Civil Litigation 
                                   Division 
                                    
                                   /s/ Michael K. Addo_____________________ 
                                   Chief, Civil Litigation Division Section IV 
                                    
                                   /s/ Martha J. Mullen____________________ 
                                   MARTHA J. MULLEN [419036] 
                                   Senior Assistant Attorney General 
                                   (202) 724‐6612 
                                   martha.mullen@dc.gov 
                                    
                                   /s/ Tram T. Pham                   ________                                 
                                   TRAM T. PHAM [1034963] 
                                   Assistant Attorney General 
                                   Office of the Attorney General 
                                   441 Fourth Street, N.W., 6th Floor South 
                                   Washington, D.C. 20001 
                                   (202) 724‐6644 
                                   tram.pham@dc.gov  
                                    
                                   Counsel for Defendant 

 

 
 




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                           UNITED STATES DISTRICT COURT 
                           FOR THE DISTRICT OF COLUMBIA 
 
 
ANDRE RICHARDSON,                                  
aka ANDREA RICHARDSON,                             
                                                   
          Plaintiff,                               
                                                          Civil Action No. 16‐209 (CRC) 
     v. 
 
DISTRICT OF COLUMBIA, et al., 
 
          Defendants. 
 
 
          MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO  
                          AMEND THE SCHEDULING ORDER 
              
       Pursuant to Fed. R. Civ. P. 6(b)(1) and 7(b), the District of Columbia Defendants 

(“Defendants”)  move  the  Court  to  amend  the  scheduling  order.    Defendants’  expert 

disclosures are  due on or before January 5, 2017  and  discovery  closes on February  10, 

2017,  the  next  court  date  is  February  13,  2017  at  10:00  a.m.    Defendants  request  an 

enlargement  of  time  for  its  expert  disclosures  up  to  and  including  February  28,  2017 

with discovery to close on April 30, 2017. 

       The grounds for this motion are that written discovery remains outstanding – the 

parties have exchanged interrogatories and requests for production of documents but as 

of this date, Plaintiff has not sent written responses.  The District has produced written 

responses  but  counsel  for  Plaintiff  has  requested  supplemental  documents,  which  the 



 
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District is in the process of collecting.  Plaintiff timely produced her expert disclosures 

but the District needs additional time to obtain a purchase order and finalize contracts 

with experts it intends to call at trial.  Undersigned counsels’ time to retain experts was 

cut short during the last two months because she was preparing for a trial scheduled to 

begin  on  December  12, 2016 (which has  now settled) and defending  depositions  in an 

unrelated  matter.    Moreover,  co‐counsel,  Tram  Pham  was  second  chair  in  Santana  v. 

District of Columbia, et al.,  2014 CA 7557 B, in D.C. Superior  Court from  November 28, 

2016 – December 7, 2016 and is currently preparing for another trial scheduled for the 

week of January 10, 2017 in the Superior Court for the District of Columbia, which has 

limited  the  time  available  to  assist  in  this  case.  In  addition,  neither  party  has  taken 

depositions  –  Plaintiff  proposed  depositions  for  the  first  week  of  January  but 

Defendants  are  not  available.    Defendants  will  also  need  an  independent  medical 

examination of Plaintiff. 

       Finally, the interceding holidays have slowed progress on discovery matters and 

made it difficult to obtain and negotiate contracts. 

       Heretofore  the  parties  have  cooperated  and  will  do  so  in  the  future  but  more 

time  is  needed  by  both  parties  to  complete  discovery.    Under  the  facts  and 

circumstances presented here, granting this motion will neither prejudice any party nor 

interfere with the fair and just administration of justice. 

                                                   



 
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                                        CONCLUSION 

      For  these  reasons,  Defendants  ask  the  Court  to  enlarge  the  time  for  its  expert 

disclosures up to and including February 28, 2017 with discovery to close on April 30, 

2017 and a post‐discovery conference set at the Court’s convenience.  

                                            Respectfully submitted, 
 
                                            KARL A. RACINE 
                                            Attorney General for the District of Columbia 
                                             
                                            GEORGE C. VALENTINE 
                                            Deputy Attorney General, Civil Litigation 
                                            Division 
                                             
                                            /s/ Michael K. Addo_____________________ 
                                            Chief, Civil Litigation Division Section IV 
                                             
                                            /s/ Martha J. Mullen____________________ 
                                            MARTHA J. MULLEN [419036] 
                                            Senior Assistant Attorney General 
                                            (202) 724‐6612 
                                            martha.mullen@dc.gov 
                                             
                                            /s/ Tram T. Pham                   ________                                 
                                            TRAM T. PHAM [1034963] 
                                            Assistant Attorney General 
                                            Office of the Attorney General 
                                            441 Fourth Street, N.W., 6th Floor South 
                                            Washington, D.C. 20001 
                                            (202) 724‐6644 
                                            tram.pham@dc.gov  
                                             
                                            Counsel for Defendant 

 


 
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                            UNITED STATES DISTRICT COURT 
                             FOR THE DISTRICT OF COLUMBIA 
 
 
ANDRE RICHARDSON,                              
aka ANDREA RICHARDSON,                         
                                               
          Plaintiff,                           
                                                      Civil Action No. 16‐209 (CRC) 
     v. 
 
DISTRICT OF COLUMBIA, et al., 
 
          Defendants. 
 
 
                                         ORDER 
 
       Upon consideration of Defendants’ Motion to Amend the Scheduling Order and 

the entire record herein, it is this _____ day of December, 2016 hereby 

       ORDERED that the Defendants’ Motion is GRANTED; and it is further 

       ORDERED that Defendants’ expert disclosures are due on or before February 28, 

2017; and it is further  

       ORDERED that discovery shall close on April 30, 2017; and it is further 

       ORDERED that the parties shall appear for a post –discovery status conference 

on                                 . 

 

                                         ____________________________  
                                         JUDGE CHRISTOPHER R. COOPER  
                                         DISTRICT COURT JUDGE 


 
